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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:12-00119-04

BRATTEN SMITH


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On September 21, 2016, the United States of America

appeared by W. Clinton Carte, Assistant United States Attorney,

and the defendant, Bratten Smith, appeared in person and by his

counsel, Tim C. Carrico, for a hearing on the petition on

supervised release and amendment thereto submitted by Senior

United States Probation Officer Amy Berry Richmond.               The

defendant commenced a three-year term of supervised release in

this action on January 21, 2015, as more fully set forth in the

Judgment Including Sentence Under the Sentencing Reform Act

entered by the court on February 6, 2013.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

committed the federal and state offense of manufacturing

marijuana with the intent to distribute for which he was

arrested on September 21, 2015, as evidenced by his agreement on

the record of the hearing that the government possesses

sufficient proof to prove the offense by a preponderance of the

evidence; (2) the defendant committed the state offenses of two

counts of breaking and entering, one count of possession of

firearms, two counts of petit larceny, and three counts of

destruction of property for which he was arrested on August 18,

2016, as evidenced by his agreement on the record of the hearing

that the government possesses sufficient proof to prove the

offenses by a preponderance of the evidence; and (3) the

defendant failed to submit monthly reports for May and June,

2016; all as set forth in the petition on supervised release and

amendment thereto.




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           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

TWENTY (20) MONTHS, to be followed by a term of sixteen (16)

months of supervised release upon the standard conditions of

supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime.


           The defendant was remanded to the custody of the

United States Marshal.



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           Recommendation:     The court recommends that the

defendant be designated to FCI Ashland.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       September 22, 2016


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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